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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF MISSISSIPPI
ABERDEEN DIVISION
CLOTTIE HARRINGTON,

Plaintiff,

'VS- CAsE No.= \`.\O\C/\,/ UU(/g£l /DA§

LOANMAX, LLC d/b/a LOANMAX
TITLE LOANS,

Defendant.
/

COMPLAINT AND DEMAND FOR JURY TRIAL

1. Plaintiff alleges violation of the Telephone Consumer Protection Act, 47
U.S.C. §227 et seq. (“TCPA”).

INTRODUCTION

2. The TCPA was enacted to prevent companies like LOANMAX, LLC
dfb/a LOANMAX TITLE LOANS (hereinafter “Defendant” or “LoanMax”), from
invading American citizens’ privacy and prevent abusive “robo-calls.”

3. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, --US--, 132
S.Ct. 740, 745, 181 L.Ed.2d 881 (2012).

4. “No one can deny the legitimacy of the state’s goal: Preventing the phone
(at home or in one’s pocket) from frequently ringing with unwanted calls. Every call uses
some of the phone owner’s time and mental energy, both of which are precious. Most

members of the public want to limit calls, especially cellphone calls, to family and

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acquaintances, and to get their political information (not to mention their advertisements)
[*6] in other ways.” Pam`otic Veterans v. Zoeller, No. 16-2059, 2017 U.S. App. LEXIS
47, at *5-6 (7th Cir. Jan 3, 2017).

5. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our
dinner at night; they force the sick and elderly out of bed; they hound us until we want to
rip the telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991) Senator Hollings
presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.
2014).

6. According to the Federal Communications Commission (FCC),
“Unwanted calls are far and away the biggest consumer complaint to the FCC with over
200,000 complaints each year - around 60 percent of all the complaints...Some private
analyses estimate that U.S. consumers received approximately 2.4 billion robocalls per
month in 2016.” The FCC’s Push to Combat Robocalls & Spoojing (website visited on
Jan. 2, 2019), https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-robocalls-
spooflng

JURISDICTION AND VENUE

7. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

 

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8. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (llth Cir. 2014).

9. The alleged violations described herein occurred in Oktibbeha County,
Mississippi. Accordingly, venue is appropriate with this Court under 28 U.S.C.
§l39l(b)(2), as it is the judicial district in which a substantial part of the events or
omissions giving rise to this action occurred.

FACTUAL ALLEGATIONS

10. Plaintiff is a natural person, and citizen of the State of Mississippi,
residing in Starkville, Oktibbeha County, Mississippi.

11. Plaintiff is the “called party.” See Breslow v. Wells F argo Bank, N.A., 755
F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (l lth
Cir. 2014).

12. Defendant is a limited liability company with its principal place of
business located at 3440 Preston Ridge Road, Suite 500, Alpharetta, Georgia 30005 and
which conducts business in the State of Mississippi through its registered agent, C T
Corporation System, located at 645 Lakeland East Drive, Suite 101, Flowood,

Mississippi 39232.

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13. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number at issue, (662) *** - 9660, and was the called party and recipient of Defendant’s
hereinafter described calls,

14. Defendant placed an exorbitant number of automated calls and text
messages to Plaintiff" s cellular telephone (662) *** - 966() in an attempt to collect on an
automobile loan.

15. On several occasions over approximately the last eighteen (18) months,
Plaintiff instructed Defendant’s agents(s) to stop calling her cellular telephone.

16. Upon receipt of the calls from Defendant, Plaintiff" s caller ID identified
the calls/text messages were being initiated from, but not limited to, the following phone
number: (662) 323-92()3, and when that number is called, a live person answers the
phone and says “Thank you for calling LoanMax.”

17. Upon information and belief, some or all of the calls/text messages the
Defendant made to Plaintiff" s cellular telephone number were made using an “automatic
telephone dialing system” which has the capacity to store or produce telephone numbers
to be called, without human intervention, using a random or sequential number generator
(including but not limited to a predictive dialer) or an artificial or prerecorded voice; and
to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”).

18. Plaintiff will testify that she knew it was an autodialer because of the vast
number of calls/text messages she received, and because when she answered a call from
the Defendant, she would hear an extended pause before an agent/representative would

come on the line.

 

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19. Moreover, Plaintiff would often be met with a prerecorded message or
artificial voice, as specified by the TCPA, 47 U.S.C. § 227(b)(l)(A), upon answering a

call from Defendant asking her to hold the line for the next available representative.

20. Plaintiff also received a substantial number of text messages from
Defendant,
21. Defendant attempted to collect an alleged debt related to an auto loan from

the Plaintiff by this campaign of telephone calls.

22. On or about March 10, 2018, Plaintiff was involved in a car accident that
resulted in her vehicle being declared totaled. Following the accident, Plaintiff" s
insurance company was to cover the remainder of the balance owed on the vehicle.
However, only weeks after the accident occurred, Defendant began calling Plaintiff" s
cellular telephone incessantly to collect on what Defendant alleged to be a remaining
balance of approximately $1,300.00.

23. Shortly after the calls began, in or around April of 2018, Plaintiff
answered a call from Defendant, was met with an extended pause, held the line to be
connected to agent/representative, was eventually connected to an agent/representative of
Defendant, and explained to this agent/representative that she did not believe she owed
anything on the vehicle as it was to be covered by her insurance, any inquiries related to
an outstanding balance that Defendant alleges is owed needs to be directed to her
insurance carrier, and demanded that Defendant cease placing automated calls to her

aforementioned cellular telephone number.

 

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24. During the aforementioned phone conversation in or about April of 2018
with Defendant’s agent/representative, Plaintiff unequivocally revoked any express
consent Defendant may have had for placement of telephone calls/text messages to
Plaintiff’ s cellular telephone number by the use of an automatic telephone dialing system
or a pre-recorded or artificial voice.

25. Each subsequent call/text message the Defendant made to the Plaintiff’ s
aforementioned cellular telephone number was done so without the “express consent” of
the Plaintiff.

26. Each subsequent call/text message the Defendant made to the Plaintiff’ s
aforementioned cellular telephone number was knowing and/or willful.

27. As recently as January 21, 2019, due to continued automated calls/text
messages to her aforementioned cellular telephone number from the Defendant, Plaintiff
answered yet another ca11 from Defendant, was eventually connected to a live
agent/representative of Defendant, and informed the agent/representative of Defendant
that she had previously informed them not to call her cellular phone, and again demanded
that Defendant cease placing calls to her aforementioned cellular telephone number.

28. Despite actual knowledge of their wrongdoing, the Defendant continued
the campaign of abuse, calling/texting the Plaintiff despite the Plaintiff revoking any
express consent the Defendant may have had to call his aforementioned cellular
telephone number.

29. On at least ten (1()) separate occasions, Plaintiff has either answered a call

from Defendant or returned a call to Defendant regarding her account, held the line to be

 

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connected to a live agent/representative, and demanded that Defendant cease placing calls
to her aforementioned cellular telephone number.

30. Each of the Plaintiff’ s requests for the harassment to end was ignored.

31. Defendant has placed approximately five-hundred (500) actionable
calls/text messages to Plaintiff’s aforementioned cellular telephone number in violation
of the TCPA (or as will more accurately be determined upon a thorough review of
Plaintiff’ s wireless records and/or Defendant’s records).

32. From each and every call placed without express consent by Defendant to
Plaintiff’ s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon her right of seclusion.

33. From each and every call without express consent placed by Defendant to
Plaintiff’ s cell phone, Plaintiff suffered the injury of the occupation of her cellular
telephone line and cellular phone by unwelcome calls, making the phone unavailable for
legitimate callers or outgoing calls while the phone was ringing from Defendant’s calls.

34. From each and every call placed without express consent by Defendant to
Plaintiff’ s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.
For calls she answered, the time she spent on the call was unnecessary as she repeatedly
asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to
unlock the phone and deal with missed call notifications and call logs that reflect the
unwanted calls, This also impaired the usefulness of these features of Plaintiff’ s cellular

phone, which are designed to inform the user of important missed communications

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35. Each and every call placed without express consent by Defendant to
Plaintiff’ s cell phone was an injury in the form of a nuisance and annoyance to the
Plaintiff. For calls that were answered, Plaintiff had to go through the unnecessary
trouble of answering them. Even for unanswered calls, Plaintiff had to deal with missed
call notifications and call logs that reflected the unwanted calls, This also impaired the
usefulness of these features of Plaintist cellular phone, which are designed to inform the
user of important missed communications

36. Each and every call placed without express consent by Defendant to
Plaintist cell phone resulted in the injury of unnecessary expenditure of Plaintist cell
phone’s battery power.

37. Each and every call placed without express consent by Defendant to
Plaintist cell phone where a voice message was left occupied space in Plaintist phone
or network.

38. Each and every call placed without express consent by Defendant to
Plaintist cell phone resulted in the injury of a trespass to Plaintiff’ s chattel, namely her
cellular phone and her cellular phone services.

39. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affected in a personal and individualized way by stress,
anxiety, embarrassment, and aggravation. These calls were particularly worrisome as

Plaintiff already struggles with high blood pressure.

 

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40. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’ s
cellular telephone in this case.

41. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice, just as they did to the Plaintiff’ s cellular
telephone in this case, with no way for the consumer, Plaintiff, or Defendant, to remove
the number.

42. Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to Defendant they do not
wish to be called.

43. Defendant’s corporate policy provided no means for Plaintiff to have
Plaintiff’ s number removed from Defendant call list.

44. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called,

45. Not one of Defendant’s telephone calls placed to Plaintiff were for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

46. Defendant willfully and/or knowingly violated the TCPA with respect to
the Plaintiff,

COUNT I
(Violation of the TCPA)

47. Plaintiff realleges and incorporates paragraphs one (1) through forty-six

(46) above as if fully set forth herein.

 

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48. Defendant willfully violated the TCPA with respect to Plaintiff,
specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after
Plaintiff notified Defendant that Plaintiff did not wish to receive any telephone
communication from Defendant, and demanded for the calls to stop.

49. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’ s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff’ s prior express consent in violation of federal law, including 47
U.S.C § 227(b)(l)(A)(iii).

WHEREFORE, Plaintiff, CLOTT[E HARRINGTON, respectfully demands a
trial by jury on all issues so triable and judgment against Defendant, LOANMAX, LP
d/b/a LOANMAX TITLE LOANS, for statutory damages, treble damages, punitive

damages, actual damages and any other such relief the court may deem just and proper.

Respectfully Submitted,

/s/

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